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                         Ex. 2
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                              UNITED STATES DISTRICT COURT
                               DISTRICT OF MASSACHUSETTS

 AMERICAN FEDERATIONOF
 GOVERNMENT EMPLOYEES, AFL-
 CIO et al.,

                Plaintiffs,
                                                Civil Action No. 25-cv-10276
        vs.

 CHARLES EZELL, ACTING
 DIRECTOR, OFFICE OF PERSONNEL
 MANAGEMENT et al..

                Defendants.

              [AMENDED PROPOSED] TEMPORARY RESTAINING ORDER


       Upon consideration of Plaintiffs’ Emergency Application for a Temporary Restraining

Order (“Application”), the Memorandum of Points and Authorities and Exhibits in support thereof,

any opposition, any reply thereto and any oral argument, it is hereby ORDERED that

Plaintiffs’ Motion is GRANTED.

       Plaintiffs have satisfied the necessary elements for issuing a Temporary Restraining Order

under Fed. R. P. 65(b). In particular, Plaintiffs have established that they will likely succeed on

the merits of their claim under the Administrative Procedure Act that the Fork in the Road

Directive is arbitrary, capricious, and not in accordance with law, that they suffer irreparable harm

absent relief, and that the balance of equities and the public interest weigh in favor of a Temporary

Restraining Order. It is FURTHER ORDERED that the February 6th Deadline for federal                     Formatted: Superscript


employees to accept the Fork in the Road Directive is stayed, and Defendants are enjoined from

further soliciting resignations under the program, pending submission and resolution of Plaintiffs’

upcoming motion for preliminary injunction.                                                             Formatted: Font color: Text 1
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It is FURTHER ORDERED that, within 24 hours of this Order, Defendants must, as soon as is          Formatted: Font color: Black
                                                                                                   Formatted: Font color: Black
practicable, provide written notice of this Order to all federal employees who have received the   Formatted: Indent: First line: 0"
                                                                                                   Formatted: Font color: Black
Directive and must notify the Court that they have done so within 4824 hours of this Order.        Formatted: Font color: Black




       IT IS SO ORDERED.



DATE: ____________________, 2025

TIME: __________________

                                            ____________________________________
                                            U.S. District Court Judge




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